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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;262&lt;/a&gt;-CR&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;Marshall Scott Mills&lt;/a&gt;, AKA David Scott Mills, AKA David Lynn Bollinger, Appellant&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;v.&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;The State of Texas, Appellee&lt;/center&gt;
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&lt;center&gt;FROM THE DISTRICT COURT OF &lt;a name="4"&gt;HAYS&lt;/a&gt; COUNTY, &lt;a name="5"&gt;22ND&lt;/a&gt; JUDICIAL DISTRICT&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;NO. &lt;a name="6"&gt;CR-92-0477&lt;/a&gt;, HONORABLE &lt;a name="7"&gt;CHARLES R. RAMSAY&lt;/a&gt;, JUDGE PRESIDING&lt;/center&gt;
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PER CURIAM&lt;/strong&gt;

&lt;p&gt;Appellant's motion to dismiss this appeal is granted.  &lt;em&gt;See&lt;/em&gt; Tex. R. App. P. 42.2(a). 
The appeal is dismissed.

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&lt;p&gt;Before Justices Jones, Kidd and Yeakel

&lt;p&gt;Dismissed on Appellant's Motion

&lt;p&gt;Filed:   September 14, 2000

&lt;p&gt;Do Not Publish
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